           Case 5:22-cv-00222-VKD Document 18 Filed 02/22/22 Page 1 of 3




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     Attorney(s) for Social Positioning Input Systems, LLC
 6

 7
                       IN THE UNITED STATES DISTRICT COURT
 8                  FOR THE NORTHERN DISTRICT OF CALIFORNIA
 9

10    SOCIAL POSITIONING INPUT
      SYSTEMS, LLC,                                  CASE NO.: 5:22-cv-00222-VKD
11
                           Plaintiff,
12                                                   JOINT STIPULATION OF
13    v.                                             DISMISSAL

14    DRIVEROO, INC.,
15                         Defendant.
16

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18
             Plaintiff Social Positioning Input Systems, LLC, and Defendant Driveroo, Inc.,
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     by their respective undersigned counsel, hereby STIPULATE and AGREE as follows:
20
             1.    All claims asserted by the Plaintiff in this Action are dismissed with
21
     prejudice and all counter-claims asserted by the Defendant in this Action are dismissed
22
     without prejudice under Fed. R. Civ. P. 41(a)(1)(A)(ii);
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             2.    Each party shall bear its own costs and attorneys’ fees with respect to the
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     matters dismissed hereby;
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             This Stipulation and Order shall finally resolve the Action between the parties.
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                                   JOINT STIPULATION OF DISMISSAL
       Case 5:22-cv-00222-VKD Document 18 Filed 02/22/22 Page 2 of 3




 1   Dated: February 22, 2022             Respectfully submitted,
 2
                                          /s/Stephen M. Lobbin
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 9                                        /s/Rodeen Talebi
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                                          Attorney(s) for Defendant
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                                JOINT STIPULATION OF DISMISSAL
        Case 5:22-cv-00222-VKD Document 18 Filed 02/22/22 Page 3 of 3




 1
                              CERTIFICATE OF SERVICE
 2

 3
            I hereby certify that on February 22, 2022, I electronically transmitted the
     foregoing document using the CM/ECF system for filing, which will transmit the
 4   document electronically to all registered participants as identified on the Notice of
 5   Electronic Filing, and paper copies have been served on those indicated as non-
     registered participants.
 6                                         /s/Stephen M. Lobbin
 7                                         Stephen M. Lobbin

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                                JOINT STIPULATION OF DISMISSAL
